




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





CONSUELO T. VALENCIA,


                                    Appellant,


v.


JESUS TORRES,


                                    Appellee. 

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No. 08-06-00268-CV



Appeal from


 Probate Court No. 2


of El Paso County, Texas


(TC # 2005-P00427)




MEMORANDUM OPINION



	This appeal is before the Court on its own motion for determination whether the appeal
should be dismissed for want of prosecution.  Finding that Appellant has not filed a brief or a motion
for extension of time, we dismiss the appeal.

	On April 26, 2007, the Clerk's Office notified Appellant that neither a brief nor a motion for
extension of time had been filed.  The letter also informed Appellant that the Court intended to
dismiss the appeal for want of prosecution unless he could show grounds for continuing the appeal
within ten days from the date of the notice.  Appellant did not respond to the inquiry nor did he file
his brief or a motion request an extension of time in which to do so.

	This court possesses the authority to dismiss an appeal for want of prosecution when the
appellant has failed to file his brief in the time prescribed, and gives no reasonable explanation for
such failure.  Tex.R.App.P. 38.8(a)(1); Elizondo v. City of San Antonio, 975 S.W.2d 61, 63
(Tex.App.--San Antonio 1998, no writ).  We have given notice of our intent to dismiss the appeal,
requested a response if a reasonable basis for failure to file the brief exists, and have received none. 
We see no purpose that would be served by declining to dismiss the appeal at this stage of the
proceedings.  We therefore dismiss the appeal for want of prosecution pursuant to Tex.R.App.P.
38.8(a)(1) and 42.3(c).


June 14, 2007						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.


